Exhibit J
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                                                               NOTES TO FINANCIAL STATEMENTS
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Note 1 – Summary of Significant Accounting Policies and Going Concern

      A.    Accounting Practices

            The accompanying statutory-basis financial statements of Twin City Fire Insurance Company (the “Company” or “Twin City”) have been prepared in conformity with statutory
            accounting practices prescribed or permitted by the State of Indiana Insurance Department (“the Department”). The Department recognizes only statutory accounting
            practices prescribed or permitted by the State of Indiana for determining and reporting the financial condition and results of operations of an insurance company and for
            determining its solvency under the State of Indiana Insurance Law. The National Association of Insurance Commissioners’ Accounting Practices and Procedures manual
            (“NAIC SAP”) has been adopted as a component of prescribed practices by the State of Indiana. There are no material differences between the accounting practices and
            procedures prescribed by the Department and NAIC SAP. During 2020 and 2019, the Company did not have any permitted practices.

                                                                                         SSAP #           F/S Page              F/S Line #               2020                   2019

             NET INCOME
             1. Twin City state basis (Page 4, Line 20, Columns 1 & 3)                     XXX              XXX                    XXX            $       20,536,151 $           37,460,176
             2. State prescribed practices that increase/(decrease) NAIC SAP                                                                                        —                      —
             3. State permitted practices that increase/(decrease) NAIC SAP                                                                                         —                      —
             4. NAIC SAP (1-2-3=4)                                                         XXX              XXX                    XXX            $       20,536,151 $           37,460,176
             SURPLUS
             5. Twin City state basis (Page 3, Line 37, Columns 1 & 2)                     XXX              XXX                    XXX            $      304,262,792 $          284,820,796
             6. State prescribed practices that increase/(decrease) NAIC SAP                                                                                        —                      —
             7. State permitted practices that increase/(decrease) NAIC SAP                                                                                         —                      —
             8. NAIC SAP (5-6-7=8)                                                         XXX              XXX                    XXX            $      304,262,792 $          284,820,796

      C.    Accounting Policy

            2.     The Company had no Securities Valuation Office - identified investments in exchange traded funds or bond mutual funds that qualified for bond accounting treatment.

            6.     Loan-backed bonds and structured securities are carried at either amortized cost or the lower of amortized cost or fair value in accordance with the provisions of
                   Statement of Statutory Accounting Principles (“SSAP”) No. 43-Revised (Loan-backed and Structured Securities). Significant changes in estimated cash flows from
                   the original purchase assumptions are accounted for using the prospective method, except for highly rated fixed rate securities, which use the retrospective method.

Note 2 – Accounting Changes and Corrections of Errors

            On April 15, 2020, the Statutory Accounting Principles Working Group (“SAPWG”) of the NAIC adopted four interpretations of statutory accounting principles, one of which
            gives insurers relief with respect to issues arising from reference rate reform, including the discontinuance of the London Interbank Offered Rate (“LIBOR”), and three of
            which are intended to give insurers relief with respect to issues encountered in the COVID-19 pandemic. Where applicable, the Company is adopting all interpretations
            effective beginning with first quarter financial reporting. The Company has not measured the effect of adoption on its financial position, cash flows or net income because
            the guidance provides relief from accounting and therefore disclosure.

            INT 20-01 allows insurance companies to account for contract modifications made solely due to rate reform (such as replacing LIBOR with another reference rate) as
            continuations of existing contracts and to maintain hedge accounting when the hedging effectiveness between a financial instrument and its hedge is only affected by the
            change to a replacement rate. As a result, insurance companies will not recognize gains and losses during the transition period of LIBOR to an alternative reference rate
            that would otherwise have arisen from accounting assessments and remeasurements. The guidance expires for contract modifications made and hedge relationships
            entered into or evaluated after December 31, 2022.

            INT 20-02 provides an exception to the 90-day rule for nonadmittance of policyholder and similar receivables in Q1 and Q2 2020. Uncollected amounts are in scope of
            INT 20-02 for policies and contracts with self-insureds in effect and current before March 13, 2020 (the date of the federal COVID-19 emergency declaration) and for
            policies and contracts written or renewed on or after March 13, 2020.

            INT 20-03 provides exceptions from reporting modifications of mortgage and bank loan terms in response to COVID-19 for modifications made during a temporary period
            beginning on March 1, 2020 and ending on the earlier of December 31, 2020, or 60 days after the national emergency concerning COVID-19 terminates. Mortgage and
            bank loans granted modifications such as a forbearance arrangement, an interest rate modification, a repayment plan, and other similar arrangement that defers or delays
            the payment of principal or interest for a loan are not characterized troubled debt restructurings. The INT is applicable for the term of any loan modification and only applies
            to a loan that was not more than 30 days past due as of December 31, 2019.

            INT 20-04 provides exceptions for impairment characterization and assessment related to mortgage and bank loans and investments with underlying mortgage loans that
            would otherwise be required in 1Q and 2Q 2020. INT 20-04 does not require an impairment identification for mortgage loans with payments deferred and/or modified in
            response to COVID-19. INT 20-04 also provides limited-scope provisions for assessing impairment for investments with underlying mortgage loans impacted due to fair
            value declines if the entity does not intend to sell the investment.

            On May 20, 2020, the SAPWG adopted additional interpretations intended to give insurers relief with respect to issues encountered in the COVID-19 pandemic. Where
            applicable, the Company is adopting two interpretations effective beginning with second quarter financial reporting. The Company has not measured the effect of adoption
            on its financial position, cash flows or net income because the guidance provides relief from accounting and therefore disclosure.

            INT 20-05 provides temporary exceptions to the collectability and nonadmittance guidance for investment income due and accrued. The exceptions allow admittance of
            past due investment income due and accrued on modified mortgage loans, bank loans and investment products with underlying mortgage loans that were current as of
            December 31, 2019, if deemed collectible. INT 20-05 is effective June 30, 2020, and expires September 29, 2020.

            INT 20-07 provides practical expedients that simplify the assessment and documentation requirements for modifications of certain debt securities. Under the INT 20-07,
            any modification of a debt security that relates solely to COVID-19 and that results in a less than 10% shortfall in the contractual amount due and a 3-year or less delay
            in payments is not considered a troubled debt restructuring. INT 20-07 is applicable for the term of any loan modification and applies to modifications made during a
            temporary period beginning on March 1, 2020 and ending on the earlier of December 31, 2020, or 60 days after the national emergency concerning COVID-19 terminates.

Note 3 – Business Combinations and Goodwill

            No significant change.

Note 4 – Discontinued Operations

            No significant change.




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                                                               NOTES TO FINANCIAL STATEMENTS
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Note 5 – Investments

      D.    Loan-backed Securities

            1.     Prepayment assumptions for single class and multi-class mortgage-backed/asset-backed securities were obtained from broker dealer survey value or internal
                   estimates.

            2.     The Company had no other-than-temporary impairments ("OTTI") for loan backed securities recorded during the year where the Company had either the intent to
                   sell the securities or the inability or lack of intent to retain.

            3.     The Company did not recognize any OTTI for loan-backed securities held as of June 30, 2020

            4.     Security Unrealized Loss Aging

                   All impaired securities (fair value is less than cost or amortized cost) for which an OTTI has not been recognized in earnings as a realized loss (including securities
                   with a recognized OTTI for non–interest related declines when a non–recognized interest related impairment remains):

                           a. The aggregate amount of unrealized losses:

                               1. Less than 12 Months                                                          $      140,486
                               2. 12 Months or Longer                                                          $             —

                           b. The aggregate related fair value of securities with unrealized losses:

                               1. Less than 12 Months                                                          $    9,558,297
                               2. 12 Months or Longer                                                          $             —

            5.     As of June 30, 2020, loan-backed securities in an unrealized loss position were comprised of 2 securities, related to a collateralized loan obligation ("CLO") security
                   and an asset backed security ("ABS") in the auto sector, which were depressed primarily due to widening of credit spreads since the securities were purchased.
                   The Company does not have an intention to sell the securities outlined above and has the intent and ability to hold the securities until values recover. Furthermore,
                   based upon the Company’s cash flow modeling and the expected continuation of contractually required principal and interest payments, the Company has deemed
                   these securities to be temporarily impaired as of June 30, 2020.

      E.    Repurchase Agreements and/or Securities Lending Transactions

            3.     Collateral Received

                   b.    The Company did not accept collateral that is permitted by contract or custom to sell or repledge as of June 30, 2020.

      F.    Repurchase Agreements Transactions Accounted for as Secured Borrowing

            The Company had no repurchase agreements transactions accounted for as secured borrowing.

      G.    Reverse Repurchase Agreements Transactions Accounted for as Secured Borrowing Repurchase Transactions - Cash Provider - Overview of Secured Borrowing
            Transactions

            The Company had no reverse repurchase agreements transactions accounted for as secured borrowing repurchase transactions.

      H.    Repurchase Agreements Transactions Accounted for as a Sale Repurchase Transaction - Cash Taker - Overview of Sale Transactions

            The Company had no repurchase agreements transactions accounted for as a sale repurchase transaction.

      I.    Reverse Repurchase Agreements Transactions Accounted for as a Sale Repurchase Transaction - Cash Provider - Overview of Sale Transactions

            The Company had no reverse repurchase agreements transactions accounted for as a sale repurchase transaction.

      M.    Working Capital Finance Investments

            The Company does not have any Working Capital Finance Investments.

      N.    Offsetting and Netting of Assets and Liabilities

            The Company had no offsetting and netting of assets and liabilities.

Note 6 – Joint Ventures, Partnerships and Limited Liability Companies

            No significant change.

Note 7 – Investment Income

            No significant change.

Note 8 – Derivative Instruments

      A.    Derivative Instruments with Financing Premiums

            8.     The Company had no investments in derivatives with financing premiums.

Note 9 – Income Taxes

            No significant change.

Note 10 – Information Concerning Parent, Subsidiaries and Affiliates

      F.    Amended and Restated Tax Allocation Agreement effective May 6, 2020 by and between The Hartford Financial Services Group, Inc. and certain of its subsidiaries and
            affiliates, including but not limited to insurance companies.

            Third Amended and Restated Investment Pooling Agreement effective April 3, 2020 by and between The Hartford Financial Services Group, Inc. and certain of its subsidiaries




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                                      TWIN CITY FIRE INSURANCE COMPANY
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                                                               NOTES TO FINANCIAL STATEMENTS
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            and affiliates, including but not limited to insurance companies.

Note 11 – Debt

      B.    Federal Home Loan Bank (FHLB) Agreements

            The Company does not have any FHLB Agreements.

Note 12 – Retirement Plans, Deferred Compensation, Postemployment Benefits and Compensated Absences and Other Postretirement Benefit Plans

      A.    Defined Benefit Plan

            The Company has no Defined Benefits Plans.

Note 13 – Capital and Surplus, Dividend Restrictions and Quasi-Reorganizations

            No significant change.

Note 14 – Contingencies

      G.    All Other Contingencies

            COVID-19 Pandemic Business Income Insurance Coverage Litigation

            Like many others in the property and casualty insurance industry, beginning in April 2020, the Company and various affiliates of the Company (collectively “the Hartford
            writing companies”) have been served as defendants in lawsuits seeking insurance coverage under commercial insurance policies issued by the Hartford writing companies
            for alleged losses resulting from the shutdown or suspension of their businesses due the spread of the SARS-CoV-2 coronavirus, the novel coronavirus that leads to
            COVID-19. As of July 21, 2020, the Company is aware of more than 145 such lawsuits, of which more than 40 purport to be filed on behalf of broad nationwide or statewide
            classes of policyholders. These lawsuits have been filed in state and federal courts in roughly 25 states. Although the allegations vary, the plaintiffs generally seek a
            declaration of insurance coverage, damages for breach of contract in unspecified amounts, interest, and attorney’s fees. Many of the lawsuits also allege that the insurance
            claims were denied in bad faith or otherwise in violation of state laws and seek extra-contractual or punitive damages.

            The Company and its affiliates deny the allegations and intend to defend vigorously. The Hartford writing companies maintain that they have no coverage obligations with
            respect to these suits for business income allegedly lost by the plaintiffs due to the COVID-19 pandemic based on the clear terms of the applicable insurance policies.
            Although the policy terms vary depending, among other things, upon the size, nature, and location of the policyholder’s business, in general, the claims at issue in these
            lawsuits were denied because the claimant identified no direct physical damage or loss to property at the insured premises, and the governmental orders that led to the
            complete or partial shutdown of the business were not due to the existence of any such damage or loss in the immediate vicinity of the insured premises and did not
            prohibit access to the insured premises, as required by the terms of the insurance policies. In addition, the vast majority of the policies at issue expressly exclude from
            coverage any loss caused directly or indirectly by the presence, growth, proliferation, spread or activity of a virus, subject to a narrow set of exceptions not applicable in
            connection with this pandemic, and contain a pollution and contamination exclusion that, among other things, expressly excludes from coverage any loss caused by
            material that threatens human health or welfare.

            In addition to the inherent difficulty in predicting litigation outcomes, the COVID-19 pandemic business income coverage lawsuits present numerous uncertainties and
            contingencies that are not yet known, including how many policyholders will ultimately file claims, the number of lawsuits that will be filed, the extent to which any state or
            nationwide classes will be certified and the size and scope of any such classes, and whether the validity of the coverage defenses will be determined by one court or
            many. The legal theories advocated by plaintiffs vary significantly by case as do the state laws that govern the policy interpretation, and virtually no substantive legal
            rulings have been made. In addition, business income calculations depend upon a wide range of factors that are particular to the circumstances of each individual
            policyholder and, here, virtually none of the plaintiffs have submitted proofs of loss or otherwise quantified or factually supported any allegedly covered loss, and, in any
            event, the Company’s experience shows that demands for damages often bear little relation to a reasonable estimate of potential loss. Accordingly, management cannot
            now reasonably estimate the possible loss or range of loss, if any. Nonetheless, given the large number of claims and potential claims, the indeterminate amounts sought,
            and the inherent unpredictability of litigation, it is possible that adverse outcomes, if any, in the aggregate, could have a material adverse effect on the Company’s operating
            results.

            In addition to the COVID-19 pandemic business income insurance coverage litigation discussed above, the Company is or may become involved in claims litigation arising
            in the ordinary course of business, both as a liability insurer defending third-party claims brought against insureds and as an insurer defending coverage claims brought
            against it. The Company accounts for such activity through the establishment of unpaid loss and loss adjustment expense reserves. Subject to the uncertainties discussed
            in Note 1.C.11 in the 2019 Annual Statement regarding Asbestos/Environmental reserves, management expects that the ultimate liability, if any, with respect to such
            ordinary-course claims litigation, after consideration of provisions made for potential losses and costs of defense, will not be material to the financial condition of the
            Company. The Company is or may become involved in various other legal actions, some of which assert claims for substantial amounts. Management expects that the
            ultimate liability, if any, with respect to such lawsuits, after consideration of provisions made for estimated losses and costs of defense, will not be material to the financial
            condition of the Company.

Note 15 – Leases

            No significant change.

Note 16 – Information About Financial Instruments With Off-Balance Sheet Risk and Financial Instruments With Concentrations of Credit Risk

            No significant change.

Note 17 – Sale, Transfer and Servicing of Financial Assets and Extinguishments of Liabilities

      B.    Transfer and Servicing of Financial Assets

            No significant change.

      C.    Wash Sales

            1.     In the course of the Company’s asset management, no securities were sold and reacquired within 30 days of the sale date to enhance the Company’s yield on its
                   investment portfolio.

            2.     The Company had no wash sale transactions.

Note 18 – Gain or Loss to the Reporting Entity from Uninsured Plans and the Uninsured Portion of Partially Insured Plans

            No significant change.




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                                                               NOTES TO FINANCIAL STATEMENTS
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Note 19 – Direct Premium Written/Produced by Managing General Agents/Third Party Administrators

            No significant change.

Note 20 – Fair Value Measurement

      A.    Fair Value Measurements

            The Company’s financial instruments held at fair value were not material.

      B.    Other Fair Value Disclosures

            Not applicable.

      C.    Fair Values for All Financial Instruments by Levels 1, 2 and 3

            Valuation Inputs for Investments

            For Level 1 investments, valuations are based on observable inputs that reflect quoted prices for identical assets in active markets that the Company has the ability to
            access at the measurement date.

            For the Company’s Level 2 and 3 debt securities, typical inputs used by pricing techniques include, but are not limited to, benchmark yields, reported trades, broker/dealer
            quotes, issuer spreads, benchmark securities, bids, offers, and /or estimated cash flows, prepayment speeds, and default rates.

            A description of additional inputs used in the Company’s Level 2 and Level 3 measurements is listed below:

            Level 2      The fair values of most of the Company’s Level 2 investments are determined by management after considering prices received from third-party pricing
                         services. These investments include most bonds.

            Level 3      Most of the Company's securities classified as Level 3 include less liquid securities such as lower quality asset-backed securities, commercial mortgage-
                         backed securities, commercial real estate, collateralized loan obligations and residential mortgage-backed securities primarily backed by sub-prime loans.
                         Also included in Level 3 are securities valued based on broker prices or broker spreads, without adjustments. Primary inputs for non-broker priced investments,
                         including structured securities, are consistent with the typical inputs used in the Level 2 measurements, but are Level 3 due to their less liquid markets.
                         Additionally, certain long-dated securities are priced based on third party pricing services, including certain municipal securities, foreign government/government
                         agency securities and bank loans. Primary inputs for these long-dated securities are consistent with the typical inputs used in the preceding noted Level 1
                         and Level 2 measurements, but include benchmark interest rate or credit spread assumptions that are not observable in the marketplace.

            The tables below reflect the fair values and admitted values of all admitted assets and liabilities that are financial instruments excluding those accounted for under the
            equity method (subsidiaries, joint ventures and partnerships).

             (Amounts in thousands)                                                                                         June 30, 2020

                                                                           Aggregate      Admitted                                                           Net Asset     Not Practicable
             Type of Financial Instrument                                                                (Level 1)          (Level 2)       (Level 3)                        (Carrying
                                                                           Fair Value      Assets                                                           Value (NAV)
                                                                                                                                                                               Value)

             Financial instruments – assets:
                  Bonds - unaffiliated                                 $      684,804 $      629,753 $         2,992 $         680,191 $         1,621 $              — $                —
                  Cash, cash equivalents, and short-term
                  investments - unaffiliated                                   46,967         46,967                 92         46,875                  —             —                  —
                  Low-income housing tax credit                                   174            174                 —                  —          174                —                  —
             Total assets                                              $      731,945 $      676,894 $         3,084 $         727,066 $         1,795 $              — $                —

             (Amounts in thousands)                                                                                       December 31, 2019

                                                                                                                                                                           Not Practicable
             Type of Financial Instrument                                  Aggregate      Admitted       (Level 1)          (Level 2)       (Level 3)        Net Asset       (Carrying
                                                                           Fair Value      Assets                                                           Value (NAV)
                                                                                                                                                                               Value)

             Financial instruments - assets:
                  Bonds - unaffiliated                                 $      689,822 $     648,681 $          4,929 $         682,736 $         2,157 $              — $                —
                  Cash, cash equivalents, and short-term
                  investments - unaffiliated                                     9,829         9,829              21             9,808                  —             —                  —
                  Low-income housing tax credit                                   228            228                 —                  —          228                —                  —
             Total assets                                              $      699,879 $     658,738 $          4,950 $         692,544 $         2,385 $              — $                —

            The fair value of bonds in an active and orderly market (e.g., not distressed or forced liquidation) are determined by management using a "waterfall" approach after
            considering the following pricing sources: quoted prices for identical assets or liabilities, prices from third-party pricing services, independent broker quotations, or internal
            matrix pricing processes. Typical inputs used by these pricing sources include, but are not limited to, benchmark yields, reported trades, broker/dealer quotes, issuer
            spreads, benchmark securities, bids, offers, and/or estimated cash flows, prepayment speeds, and default rates. Most bonds do not trade daily. Based on the typical
            trading volumes and the lack of quoted market prices for bonds, third-party pricing services utilize matrix pricing to derive security prices. Matrix pricing relies on securities'
            relationships to other benchmark quoted securities, which trade more frequently. Pricing services utilize recently reported trades of identical or similar securities making
            adjustments through the reporting date based on the preceding outlined available market observable information. If there are no recently reported trades, the third-party
            pricing services may develop a security price using expected future cash flows based upon collateral performance and discounted at an estimated market rate. Both
            matrix pricing and discounted cash flow techniques develop prices by factoring in the time value for cash flows and risk, including liquidity and credit.

            The amortized cost of short-term investments approximates fair value.

      D.    Financial Instruments for Which Not Practicable to Estimate Fair Values

            At June 30, 2020, the Company had no investments where it is not practicable to estimate fair value.




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Note 21 – Other Items

      A.    Unusual or Infrequent Items

            During April, May and June, the Company provided a 15 percent refund on policyholders' personal auto insurance premiums based on reduced auto usage during the
            pandemic. This reduced direct written and earned premiums by $6,209,602 in the second quarter of 2020.

Note 22 – Events Subsequent

            The Company had no material subsequent events through the filing date of August 11, 2020.

Note 23 – Reinsurance

            No significant change.

Note 24 – Retrospectively Rated Contracts & Contracts Subject to Redetermination

      F.    Risk-Sharing Provisions of the Affordable Care Act (ACA)

            The Company did not write any accident and health insurance premium during the reporting period that is subject to the Affordable Care Act risk-sharing provisions.

Note 25 – Changes in Incurred Losses and Loss Adjustment Expenses

            Reserves as of December 31, 2019 were $306,011,937. Prior accident year reserves are now $268,569,691 as a result of payments and reserve changes attributable to
            insured events of prior accident years. From January 1, 2020 through June 30, 2020, $32,488,557 has been paid for loss and loss adjustment expenses attributable to
            insured events of prior accident years. In addition, the Company released reserves of $4,953,689, related to the re-estimate of unpaid losses and loss adjustment expenses
            for prior years. These reserve changes are mainly due to the release of reserves related to catastrophes for accident years 2017 and 2018, primarily driven by the
            recognition of a subrogation benefit from Pacific Gas and Electric related to the 2017 and 2018 wildfires, and to a lesser extent workers’ compensation and personal auto
            liability, partially offset by increases in other liability and commercial auto liability reserves.

Note 26 – Intercompany Pooling Arrangements

            No significant change.

Note 27 – Structured Settlements

            No significant change.

Note 28 – Health Care Receivables

            No significant change.

Note 29 – Participating Policies

            No significant change.

Note 30 – Premium Deficiency Reserves

            No significant change.

Note 31 – High Deductibles

            No significant change.

Note 32 – Discounting of Liabilities for Unpaid Losses or Unpaid Loss Adjustment Expenses

            No significant change.

Note 33 – Asbestos/Environmental Reserves

            No significant change.

Note 34 – Subscriber Savings Accounts

            No significant change.

Note 35 – Multiple Peril Crop Insurance

            No significant change.

Note 36 – Financial Guaranty Insurance

            The Company does not have any Financial Guaranty Insurance.




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                                                                                    SCHEDULE Y – INFORMATION CONCERNING ACTIVITIES OF INSURER MEMBERS OF A HOLDING COMPANY GROUP
                                                                                                                                                      PART 1 - ORGANIZATIONAL CHART

                                                                                                       NORTH AMERICAN PROPERTY/CASUALTY OPERATIONS                                                                                                                                      LIFE OPERATIONS

                                                                                                                                                                                                                                         ---- Hartford Holdings, Inc. XX-XXXXXXX/DE
      ---- *Hartford Fire Insurance Company XX-XXXXXXX/NAIC #19682/CT                                                     ---- The Navigators Group, Inc. XX-XXXXXXX/DE                                                                       (100% of common stock owned by The Hartford Financial Services Group, Inc. XX-XXXXXXX/DE)
           (100% of common stock owned by The Hartford Financial Services Group, Inc. XX-XXXXXXX/DE)                           (100% of common stock owned by The Hartford Financial Services Group, Inc. XX-XXXXXXX/DE)
      -------- *Hartford Underwriters Insurance Company XX-XXXXXXX /NAIC #30104/CT                                        -------- *Navigators Insurance Company XX-XXXXXXX /NAIC #42307/NY                                              ------ Hartford Funds Management Group, Inc. XX-XXXXXXX/DE
      -------- *Twin City Fire Insurance Company XX-XXXXXXX/NAIC #29459/IN                                                ------------- *Navigators Specialty Insurance Company XX-XXXXXXX/NAIC #36056/NY                                ---------------- Hartford Administrative Services Company XX-XXXXXXX/MN
      -------- *Hartford Insurance Company of Illinois XX-XXXXXXX/NAIC #38288/IL                                                                                                                                                         ---------------- Hartford Funds Distributors, LLC XX-XXXXXXX/DE
      -------- *Hartford Lloyd’s Insurance Company XX-XXXXXXX/NAIC #38253/TX                                              -------- Navigators Management Company, Inc. XX-XXXXXXX/NY                                                     ---------------- Hartford Funds Management Company, LLC XX-XXXXXXX/DE
                                                                                                                                                                                                                                         -------------------- HL Investment Advisors, LLC XX-XXXXXXX/CT
      -------- *Hartford Accident and Indemnity Company XX-XXXXXXX/NAIC #22357/CT                                         -------- *Navigators International Insurance Company, Ltd. /GBR                                                -------------------- Lattice Strategies, LLC XX-XXXXXXX/DE
      ------------ *Hartford Casualty Insurance Company XX-XXXXXXX/NAIC #29424/IN
                                                                                                                          -------- Navigators Holdings (UK), Limited/GBR                                                                 ------ *Hartford Life and Accident Insurance Company XX-XXXXXXX/NAIC #70815/CT
      -------- HRA Brokerage Services, Inc. XX-XXXXXXX/CT                                                                 ------------- Navigators Management (U.K.) Limited/GBR
      -------- Cervus Claim Solutions, LLC XX-XXXXXXX/DE                                                                  ------------- Navigators Corporate Underwriters Limited XX-XXXXXXX/GBR (corporate member for Syndicate 1221)
                                                                                                                          ------------- Navigators Underwriting Agency Limited/GBR

      -------- *Maxum Indemnity Company XX-XXXXXXX/NAIC #26743/CT                                                         ------------------- *Millennium Underwriting Limited/GBR                                                             OTHER OPERATIONS OWNED BY THE HARTFORD FINANCIAL SERVICES, GROUP, INC.
      ---------------- *Maxum Casualty Insurance Company XX-XXXXXXX/NAIC #10784/CT                                        ------------------- Navigators N.V. /BEL
      ---------------- Maxum Specialty Services Corporation XX-XXXXXXX/GA                                                 ------------------- Navigators Underwriting Limited/GBR                                                        ---- Hartford Investment Management Company XX-XXXXXXX/DE
                                                                                                                                                                                                                                         ---- Hartford Strategic Investments, LLC XX-XXXXXXX/DE
      --------   Access CoverageCorp, Inc. XX-XXXXXXX/NC                                                                  -------- NIC Investments (Chile)SpA/CHL
      --------   Access CoverageCorp Technologies, Inc. XX-XXXXXXX/NC                                                     ------------- Aseguradora Porvenir S.A./CHL (33% ownership)                                                    ---- Heritage Holdings, Inc. XX-XXXXXXX/CT
      --------   Hartford Underwriters General Agency, Inc. XX-XXXXXXX/TX                                                                                                                                                                -------- *First State Insurance Company XX-XXXXXXX /NAIC #21822/CT
      --------   Hartford of Texas General Agency, Inc. XX-XXXXXXX/TX                                                     -------- Navigators Asia Limited/HKG                                                                           ------------ *New England Insurance Company XX-XXXXXXX /NAIC #21830/CT
      --------   Hartford Casualty General Agency, Inc. XX-XXXXXXX /TX                                                                                                                                                                   ------------ *New England Reinsurance Corporation XX-XXXXXXX /NAIC #41629/CT
      --------   Hartford Fire General Agency, Inc. XX-XXXXXXX/TX                                                         -------- Navigators Holdings (Europe) N.V./BEL                                                                 -------- *Heritage Reinsurance Company, Ltd. XX-XXXXXXX/Bermuda
      --------   Nutmeg Insurance Agency, Inc. XX-XXXXXXX /CT                                                             ------------- Bracht, Deckers & Mackelbert N.V./BEL
                  st
      --------   1 AgChoice, Inc. XX-XXXXXXX/SD                                                                           ------------- *Assurances Continentales Continentale Verzekeringen N.V./BEL                                    ---- *New Ocean Insurance Company, Ltd. XX-XXXXXXX/Bermuda
      --------   Hartford Lloyd’s Corporation XX-XXXXXXX/TX                                                               ------------------- *Canal Re S.A./LUX                                                                         ---- FTC Resolution Company, LLC XX-XXXXXXX/DE
      --------   Business Management Group, Inc. XX-XXXXXXX/CT                                                                                                                                                                           ---- MPC Resolution Company, LLC/DE




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      --------   Hartford Integrated Technologies, Inc. XX-XXXXXXX/CT
                                                                                                                                                                                                                                         ----- Hartford Stag Ventures, LLC XX-XXXXXXX/DE
      ---- *Nutmeg Insurance Company XX-XXXXXXX/NAIC #39608/CT                                                                                                                                                                           -------------Y-Risk, LLC XX-XXXXXXX/CT
            (100% of common stock owned by Hartford Holdings, Inc. XX-XXXXXXX/DE)                                                                                                                                                        -------------Hartford Productivity Services, LLC XX-XXXXXXX/DE
      ------------ Hartford Management, Ltd./Bermuda
      ---------------- *Hartford Insurance Ltd./Bermuda
      ------------ Hart Re Group, LLC XX-XXXXXXX/CT
      ------------ HLA LLC XX-XXXXXXX/CT
      ------------ Hartford Residual Market, LLC XX-XXXXXXX/CT
      ------------ Trumbull Flood Management, LLC XX-XXXXXXX/CT

      ---- *Hartford Insurance Company of the Midwest XX-XXXXXXX/NAIC #37478/IN
           (100% of common stock owned by The Hartford Financial Services Group, Inc. XX-XXXXXXX/DE)

      ---- *Hartford Insurance Company of the Southeast XX-XXXXXXX/NAIC #38261/CT
           (100% of common stock owned by The Hartford Financial Services Group, Inc. XX-XXXXXXX/DE)

      ---- *Trumbull Insurance Company XX-XXXXXXX/NAIC #27120/CT
           (100% of common stock owned by The Hartford Financial Services Group, Inc. XX-XXXXXXX/DE)
      -------- Hartford Specialty Insurance Services of Texas, LLC XX-XXXXXXX /TX
      -------- Horizon Management Group, LLC XX-XXXXXXX/DE

      ---- *Property and Casualty Insurance Company of Hartford XX-XXXXXXX/NAIC #34690/IN
           (100% of common stock owned by The Hartford Financial Services Group, Inc. XX-XXXXXXX/DE)

      ---- *Pacific Insurance Company, Limited XX-XXXXXXX/NAIC #10046/CT
           (100% of common stock owned by The Hartford Financial Services Group, Inc. XX-XXXXXXX/DE)

      ---- *Sentinel Insurance Company, Ltd. XX-XXXXXXX/NAIC #11000/CT
           (100% of common stock owned by The Hartford Financial Services Group, Inc. XX-XXXXXXX/DE)


      * denotes an insurance company
